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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
 -----------------------------------------------------------X
 MARY CONNER, Individually and as the
 representative of a class of similarly situated persons,
                                                                Case No. 21-cv-919
                                          Plaintiff,

                          - against -

 SUPERGOOP, LLC,

                                            Defendant.
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                                   COMPLAINT – CLASS ACTION

                                             INTRODUCTION

                 1. Plaintiff, Mary Conner (“Plaintiff” or “Conner”), brings this action on behalf of

herself and all other persons similarly situated against Supergoop, LLC (hereinafter “Supergoop”

or “Defendant”), and states as follows:

                 2. Plaintiff is a visually-impaired and legally blind person who requires screen-

reading software to read website content using his computer. Plaintiff uses the terms “blind” or

“visually-impaired” to refer to all people with visual impairments who meet the legal definition of

blindness in that they have a visual acuity with correction of less than or equal to 20 x 200. Some

blind people who meet this definition have limited vision; others have no vision.

                 3. Based on a 2010 U.S. Census Bureau report, approximately 8.1 million people

in the United States are visually impaired, including 2.0 million who are blind, and according to
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the American Foundation for the Blind’s 2015 report, approximately 400,000 visually impaired

persons live in the State of New York.

               4. Plaintiff brings this civil rights action against Supergoop for their failure to

design, construct, maintain, and operate their website to be fully accessible to and independently

usable by Plaintiff and other blind or visually-impaired persons. Defendant is denying blind and

visually-impaired persons throughout the United States with equal access to the goods and services

Supergoop provides to their non-disabled customers through http//:www.Supergoop.com

(hereinafter “Supergoop.com” or “the website”). Defendant’s denial of full and equal access to its

website, and therefore denial of its products and services offered, and in conjunction with its

physical locations, is a violation of Plaintiff’s rights under the Americans with Disabilities Act (the

“ADA”).

               5. Plaintiff is also an advocate of the rights of similarly situated disabled persons

and is a “tester” for the purpose of asserting his civil rights and monitoring, ensuring, and

determining whether places of public accommodation and/or their websites and apps are in

compliance with the ADA.

               6. Supergoop.com provides to the public a wide array of the goods, services, price

specials, employment opportunities and other programs. Yet, Supergoop.com contains thousands

of access barriers that make it difficult if not impossible for blind and visually-impaired customers

to use the website. In fact, the access barriers make it impossible for blind and visually-impaired

users to even complete a transaction on the website. Thus, Supergoop excludes the blind and

visually-impaired from the full and equal participation in the growing Internet economy that is

increasingly a fundamental part of the common marketplace and daily living. In the wave of

technological advances in recent years, assistive computer technology is becoming an increasingly



                                                  2
prominent part of everyday life, allowing blind and visually-impaired persons to fully and

independently access a variety of services.

               7. The blind have an even greater need than the sighted to shop and conduct

transactions online due to the challenges faced in mobility. The lack of an accessible website

means that blind people are excluded from experiencing transacting with Defendant’s website and

from purchasing goods or services from Defendant’s website.

               8. Despite readily available accessible technology, such as the technology in use at

other heavily trafficked retail websites, which makes use of alternative text, accessible forms,

descriptive links, resizable text and limits the usage of tables and JavaScript, Defendant has chosen

to rely on an exclusively visual interface. Supergoop’s sighted customers can independently

browse, select, and buy online without the assistance of others. However, blind persons must rely

on sighted companions to assist them in accessing and purchasing on Supergoop.com.

               9. By failing to make the website accessible to blind persons, Defendant is violating

basic equal access requirements under both state and federal law.

               10. Congress provided a clear and national mandate for the elimination of

discrimination against individuals with disabilities when it enacted the ADA. Such discrimination

includes barriers to full integration, independent living, and equal opportunity for persons with

disabilities, including those barriers created by websites and other public accommodations that are

inaccessible to blind and visually impaired persons. Similarly, New York state law requires places

of public accommodation to ensure access to goods, services, and facilities by making reasonable

accommodations for persons with disabilities.

               11. Plaintiff browsed and intended to make an online purchase of skincare products

including the “Bright Eyes 100% Mineral Eye Cream” and the “Daily Dose Vitamin C+ Serum”

on Supergoop.com. However, unless Defendant remedies the numerous access barriers on its
                                                 3
website, Plaintiff and Class members will continue to be unable to independently navigate, browse,

use, and complete a transaction on Supergoop.com.

               12. Because Defendant’s website, Supergoop.com, is not equally accessible to blind

and visually-impaired consumers, it violates the ADA. Plaintiff seeks a permanent injunction to

cause a change in Supergoop’s policies, practices, and procedures so that Defendant’s website will

become and remain accessible to blind and visually-impaired consumers. This complaint also

seeks compensatory damages to compensate Class members for having been subjected to unlawful

discrimination.

                                JURISDICTION AND VENUE

               13. This Court has subject matter jurisdiction over this action under 28 U.S.C. §

1331 and 42 U.S.C. § 12181, as Plaintiff’s claims arise under Title III of the ADA, 42 U.S.C. §

12181 et seq., and 28 U.S.C. § 1332, because this is a class action, as defined by 28 U.S.C. §

1332(d)(1)(B), in which a member of the putative class is a citizen of a different state than

Defendant, and the amount in controversy exceeds the sum or value of $5,000,000, excluding

interest and costs. See 28 U.S.C. § 133(d)(2).

               14. This Court also has supplemental jurisdiction over pursuant to 28 U.S.C. §

1367, over Plaintiff’s pendent claims under the New York State Human Rights Law, N.Y. Exec.

Law, Article 15 (Executive Law § 290 et seq.) and the New York City Human Rights Law, N.Y.C.

Administrative Code § 8-101 et seq. (“City Law”).

               15. Venue is proper in this District of New York pursuant to 28 U.S.C. §§ 1391(b)-

(c) and 144(a) because Plaintiff resides in this District, Defendant conducts and continues to

conduct a substantial and significant amount of business in this District, and a substantial portion

of the conduct complained of herein occurred in this District.



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                16. Defendant is registered to do business in New York State and has been

conducting business in New York State, including in this District. Defendant purposefully targets

and otherwise solicits business from New York State residents through its website. Because of this

targeting, it is not unusual for Supergoop to conduct business with New York State residents.

Defendant also has been and is committing the acts alleged herein in this District and has been and

is violating the rights of consumers in this District and has been and is causing injury to consumers

in this District. A substantial part of the act and omissions giving rise to Plaintiff’s claims have

occurred in this District. A substantial part of the act and omissions giving rise to Plaintiff’s claims

have occurred in this District. Most courts support the placement of venue in the district in which

Plaintiff tried and failed to access the Website. In Access Now, Inc. v. Otter Products, LLC 280

F.Supp.3d 287 (D. Mass. 2017), Judge Patti B. Saris ruled that “although the website may have

been created and operated outside of the district, the attempts to access the website in

Massachusetts are part of the sequence of events underlying the claim. Therefore, venue is proper

in [the District of Massachusetts].” Otter Prods., 280 F.Supp.3d at 294. This satisfies Due Process

because the harm – the barred access to the website – occurred here.” Otter Prods., 280 F.Supp.3d

at 293. Additionally, in Access Now, Inc. v. Sportswear, Inc., No. 17-cv-11211-NMG, 2018 Dist.

LEXIS 47318 (D. Mass. Mar. 22, 2018), Judge Nathaniel M. Gorton stated that the Defendant

“availed itself of the forum state’s economic activities by targeting the residents of the

Commonwealth . . . . Such targeting evinces a voluntary attempt to appeal to the customer base in

the forum.” Sportswear, No. 1:17-cv-11211-NMG, 2018 U.S. Dist. LEXIS 47318 at *11. Thus,

establishing a customer base in a particular district is sufficient cause for venue placement.

                                              PARTIES

                17. Plaintiff, is and has been at all relevant times a resident of Queens County,

State of New York.
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               18. Plaintiff is legally blind and a member of a protected class under the ADA, 42

U.S.C. § 12102(l)-(2), the regulations implementing the ADA set forth at 28 CFR §§ 36.101 et

seq., the New York State Human Rights Law and the New York City Human Rights Law.

Plaintiff, Mary Conner, cannot use a computer without the assistance of screen reader software.

Plaintiff, Mary Conner, has been denied the full enjoyment of the facilities, goods and services of

Supergoop.com, as a result of accessibility barriers on Supergoop.com.

               19. Defendant, Supergoop, LLC, is a Texas Foreign Limited Liability Company

doing business in New York with its principal place of business located in San Antonio, Texas.

               20. Upon information and belief, Supergoop has raised millions of dollars from

venture capital firms. Upon information and belief, not a single dollar of the millions raised has

been used to make its App accessible to the visually-impaired.

               21. Supergoop provides to the public a website known as Supergoop.com which

provides consumers with access to an array of goods and services, including, the ability to view

the wide selection of skincare products, make purchases, and learn about promotions, among

other features. Consumers across the United States use Defendant’s website to purchase skincare

products. Defendant’s products are sold at many retailers throughout the country. Defendant’s

website is a place of public accommodation within the definition of Title III of the ADA, 42

U.S.C. § 12181(7). See Victor Andrews v. Blick Art Materials, LLC, No. 17-cv-767, 2017 WL

3278898 (E.D.N.Y. August 1, 2017). The inaccessibility of Supergoop.com has deterred

Plaintiff from buying skincare products including the “Bright Eyes 100% Mineral Eye Cream”

and the “Daily Dose Vitamin C+ Serum.”




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                                    NATURE OF THE CASE

               22. The Internet has become a significant source of information, a portal, and a tool

for conducting business, doing everyday activities such as shopping, learning, banking,

researching, as well as many other activities for sighted, blind and visually-impaired persons alike.

               23. The blind access websites by using keyboards in conjunction with screen-

reading software which vocalizes visual information on a computer screen. Except for a blind

person whose residual vision is still sufficient to use magnification, screen access software

provides the only method by which a blind person can independently access the Internet. Unless

websites are designed to allow for use in this manner, blind persons are unable to fully access

Internet websites and the information, products and services contained therein.

               24. For screen-reading software to function, the information on a website must be

capable of being rendered into text. If the website content is not capable of being rendered into

text, the blind user is unable to access the same content available to sighted users.

               25. Blind users of Windows operating system-enabled computers and devises have

several screen-reading software programs available to them. Job Access With Speech, otherwise

known as “JAWS” is currently the most popular, separately purchase and downloaded screen-

reading software program available for blind computer users.

               26. The international website standards organization, the World Wide Web

Consortium, known throughout the world as W3C, has published version 2.1 of the Web Content

Accessibility Guidelines (“WCAG 2.1”). WCAG 2.1 are well-established guidelines for making

websites accessible to blind and visually-impaired persons. These guidelines are universally

followed by most large business entities and government agencies to ensure their websites are

accessible.   Many Courts have also established WCAG 2.1 as the standard guideline for

accessibility. The federal government has also promulgated website accessibility standards under
                                                  7
Section 508 of the Rehabilitation Act. These guidelines are readily available via the Internet, so

that a business designing a website can easily access them. These guidelines recommend several

basic components for making websites accessible, including but not limited to: adding invisible

alt-text to graphics, ensuring that all functions can be performed using a keyboard and not just a

mouse, ensuring that image maps are accessible, and adding headings so that blind persons can

easily navigate the site. Without these very basic components, a website will be inaccessible to a

blind person using a screen reader. Websites need to be accessible to the “least sophisticated” user

of screen-reading software and need to be able to work with all browsers.

                                  FACTUAL ALLEGATIONS

                27. Defendant controls and operates Supergoop.com. in New York State and

throughout the United States.

                28. Supergoop.com is a commercial website that offers products and services for

online sale. The online store allows the user to browse and learn about skincare products, make

purchases, and perform a variety of other functions.

                29. Among the features offered by Supergoop.com are the following:

                (a) Consumers may use the website to connect with Supergoop on social media,

using such sites as Facebook, Twitter, Instagram, and Pinterest;

                (b) an online store, allowing customers to learn about and purchase skincare

products; and

                (c) learning about the product and the company, read reviews, learn about the

ingredients, learn how to apply the products, and learn about promotions.

                30. This case arises out of Supergoop’s policy and practice of denying the blind

access to the goods and services offered by Supergoop.com. Due to Supergoop’s failure and

refusal to remove access barriers to Supergoop.com, blind individuals have been and are being
                                                 8
denied equal access to Supergoop, as well as to the numerous goods, services and benefits offered

to the public through Supergoop.com.

               31. Supergoop denies the blind access to goods, services and information made

available through Supergoop.com by preventing them from freely navigating Supergoop.com.

               32. Supergoop.com contains access barriers that prevent free and full use by

Plaintiff and blind persons using keyboards and screen-reading software. These barriers are

pervasive and include, but are not limited to: lack of alt-text on graphics, inaccessible drop-down

menus, the lack of navigation links, the lack of adequate prompting and labeling, the denial of

keyboard access, empty links that contain no text, redundant links where adjacent links go to the

same URL address, and the requirement that transactions be performed solely with a mouse.

               33. Alternative text (“Alt-text”) is invisible code embedded beneath a graphical

image on a website. Web accessibility requires that alt-text be coded with each picture so that a

screen-reader can speak the alternative text while sighted users see the picture. Alt-text does not

change the visual presentation except that it appears as a text pop-up when the mouse moves over

the picture. There are many important pictures on Supergoop.com that lack a text equivalent. The

lack of alt-text on these graphics prevents screen readers from accurately vocalizing a description

of the graphics (screen-readers detect and vocalize alt-text to provide a description of the image to

a blind computer user). As a result, Plaintiff and blind Supergoop.com customers are unable to

determine what is on the website, browse the website or investigate and/or make purchases.

               34. Supergoop.com also lacks prompting information and accommodations

necessary to allow blind shoppers who use screen-readers to locate and accurately fill-out online

forms. On a shopping site such as Supergoop.com, these forms include search fields to select

quantity, fields to select a one-time purchase or subscription, and fields used to fill-out personal

information, including address and credit card information. Due to lack of adequate labeling,
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Plaintiff and blind customers cannot make purchases or inquiries as to Defendant’s merchandise,

nor can they enter their personal identification and financial information with confidence and

security.

               35. Specifically, when Plaintiff attempted to make a purchase, she encountered

the following problems:

                               Specific inaccessibility issues with Website

      The How to Apply section label is announced but this section is collapsed and cannot be
       expanded without a mouse so users cannot hear the content in this section.
           o The Ingredients section is collapsed and the content is not visible. Clicking on the
              name takes users to a new page where they must navigate from the top of the
              page down to the ingredients section which is a lot of tabbing. Users won’t know
              why they’re navigating a page again and they may not stay on the new page long
              enough in order to Tab to the ingredients section.
           o The Why We Love It section is already expanded for both products but a user can
              only hear the section label with Tab key navigation.
      Subscription
           o Users can Tab to the One Time Purchase field and it’s announced. In fact, it’s
              announced 4 times in a row.
           o A user must then switch to Arrow key navigation and press down, then they can
              hear the Subscription option but the delivery frequency is not available by Tab or
              Arrow key navigation.
      Focus moves to the cart confirmation window when it’s displayed but Plaintiff only
       heard “My Bag” then the Close button is announced and then focus skips to the
       Quantity field.
      These issues were consistent with both the Bright Eyes 100% Mineral Eye Cream and the
       Daily Dose Vitmain C + SPF 40.
Consequently, Plaintiff and blind visitors to the website are unable to complete a transaction.

               36. Furthermore, Supergoop.com lacks accessible image maps. An image map is

a function that combines multiple words and links into one single image. Visual details on this

single image highlight different “hot spots” which, when clicked on, allow the user to jump to

many different destinations within the website. For an image map to be accessible, it must

contain alt-text for the various “hot spots.” The image maps on Supergoop.com’s menu page do

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not contain adequate alt-text and are therefore inaccessible to Plaintiff and the other blind

individuals attempting to make a purchase.

               37. Supergoop.com also lacks accessible forms. Plaintiff is unable to locate the

shopping cart because the shopping basket form does not specify the purpose of the shopping

bag. As a result, blind customers are denied access to the shopping cart and to the ability to

check out. Consequently, blind customers are unsuccessful in adding products into their

shopping carts and are essentially prevented from purchasing items on Supergoop.com.

               38. Moreover, the lack of navigation links on Defendant’s website makes

attempting to navigate through Supergoop.com even more time consuming and confusing for

Plaintiff and blind consumers.

               39. Supergoop.com requires the use of a mouse to complete a transaction. Yet, it

is a fundamental tenet of web accessibility that for a web page to be accessible to Plaintiff and

blind people, it must be possible for the user to interact with the page using only the keyboard.

Indeed, Plaintiff and blind users cannot use a mouse because manipulating the mouse is a visual

activity of moving the mouse pointer from one visual spot on the page to another. Thus,

Supergoop.com’s inaccessible design, which requires the use of a mouse to complete a

transaction, denies Plaintiff and blind customers the ability to independently navigate and/or

make purchases on Supergoop.com.

               40. Due to Supergoop.com’s inaccessibility, Plaintiff and blind customers must in

turn spend time, energy, and/or money to make their purchases at traditional brick-and-mortar

retailers. Some blind customers may require a driver to get to the stores or require assistance in

navigating the stores. By contrast, if Supergoop.com was accessible, a blind person could

independently investigate products and make purchases via the Internet as sighted individuals

can and do. According to WCAG 2.1 Guideline 2.4.1, a mechanism is necessary to bypass
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blocks of content that are repeated on multiple webpages because requiring users to extensively

tab before reaching the main content is an unacceptable barrier to accessing the website.

Plaintiff must tab through every navigation bar option and footer on Defendant’s website in an

attempt to reach the desired service. Thus, Supergoop.com’s inaccessible design, which requires

the use of a mouse to complete a transaction, denies Plaintiff and blind customers the ability to

independently make purchases on Supergoop.com.

               41. Supergoop.com thus contains access barriers which deny the full and equal

access to Plaintiff, who would otherwise use Supergoop.com and who would otherwise be able

to fully and equally enjoy the benefits and services of Supergoop.com in New York State and

throughout the United States.

               42. Plaintiff, Mary Conner, has made numerous attempts to complete a purchase

on Supergoop.com, most recently on February 4, 2021, but was unable to do so independently

because of the many access barriers on Defendant’s website. These access barriers have caused

Supergoop.com to be inaccessible to, and not independently usable by, blind and visually-

impaired persons. Amongst other access barriers experienced, Plaintiff was unable to purchase

skincare products including the “Bright Eyes 100% Mineral Eye Cream” and the “Daily Dose

Vitamin C+ Serum.”

               43. As described above, Plaintiff has actual knowledge of the fact that

Defendant’s website, Supergoop.com, contains access barriers causing the website to be

inaccessible, and not independently usable by, blind and visually-impaired persons.

               44. These barriers to access have denied Plaintiff full and equal access to, and

enjoyment of, the goods, benefits and services of Supergoop.com.

               45. Defendant engaged in acts of intentional discrimination, including but not

limited to the following policies or practices:
                                                  12
               (a) constructed and maintained a website that is inaccessible to blind class

members with knowledge of the discrimination; and/or

               (b) constructed and maintained a website that is sufficiently intuitive and/or

obvious that is inaccessible to blind class members; and/or

               (c) failed to take actions to correct these access barriers in the face of substantial

harm and discrimination to blind class members.

               46. Defendant utilizes standards, criteria or methods of administration that have

the effect of discriminating or perpetuating the discrimination of others.

               47. Because of Defendant’s denial of full and equal access to, and enjoyment of,

the goods, benefits and services of Supergoop.com, Plaintiff and the class have suffered an

injury-in-fact which is concrete and particularized and actual and is a direct result of Defendant’s

conduct.

                              CLASS ACTION ALLEGATIONS

               48. Plaintiff, on behalf of herself and all others similarly situated, seeks

certification of the following nationwide class pursuant to Rule 23(a) and 23(b)(2) of the Federal

Rules of Civil Procedure: “all legally blind individuals in the United States who have attempted

to access Supergoop.com and as a result have been denied access to the enjoyment of goods and

services offered by Supergoop.com, during the relevant statutory period.”

               49. Plaintiff seeks certification of the following New York subclass pursuant to

Fed.R.Civ.P. 23(a), 23(b)(2), and, alternatively, 23(b)(3): “all legally blind individuals in New

York State who have attempted to access Supergoop.com and as a result have been denied access

to the enjoyment of goods and services offered by Supergoop.com, during the relevant statutory

period.”



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               50. There are hundreds of thousands of visually-impaired persons in New York

State. There are approximately 8.1 million people in the United States who are visually-

impaired. Id. Thus, the persons in the class are so numerous that joinder of all such persons is

impractical and the disposition of their claims in a class action is a benefit to the parties and to

the Court.

               51. This case arises out of Defendant’s policy and practice of maintaining an

inaccessible website denying blind persons access to the goods and services of Supergoop.com.

Due to Defendant’s policy and practice of failing to remove access barriers, blind persons have

been and are being denied full and equal access to independently browse, select and shop on

Supergoop.com.

               52. There are common questions of law and fact common to the class, including

without limitation, the following:

               (a) Whether Supergoop.com is a “public accommodation” under the ADA;

               (b) Whether Supergoop.com is a “place or provider of public accommodation”

under the laws of New York;

               (c) Whether Defendant, through its website, Supergoop.com, denies the full and

equal enjoyment of its goods, services, facilities, privileges, advantages, or accommodations to

people with visual disabilities in violation of the ADA; and

               (d) Whether Defendant, through its website, Supergoop.com, denies the full and

equal enjoyment of its goods, services, facilities, privileges, advantages, or accommodations to

people with visual disabilities in violation of the law of New York.

               53. The claims of the named Plaintiff are typical of those of the class. The class,

similar to the Plaintiff, is severely visually-impaired or otherwise blind, and claims Supergoop

has violated the ADA, and/or the laws of New York by failing to update or remove access
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barriers on their website, Supergoop.com, so it can be independently accessible to the class of

people who are legally blind.

                 54. Plaintiff will fairly and adequately represent and protect the interests of the

members of the Class because Plaintiff has retained and is represented by counsel competent and

experienced in complex class action litigation, and because Plaintiff has no interests antagonistic

to the members of the class. Class certification of the claims is appropriate pursuant to Fed. R.

Civ. P. 23(b)(2) because Defendant has acted or refused to act on grounds generally applicable to

the Class, making appropriate both declaratory and injunctive relief with respect to Plaintiff and

the Class as a whole.

                 55. Alternatively, class certification is appropriate under Fed. R. Civ. P. 23(b)(3)

because questions of law and fact common to Class members clearly predominate over questions

affecting only individual class members, and because a class action is superior to other available

methods for the fair and efficient adjudication of this litigation.

                 56. Judicial economy will be served by maintenance of this lawsuit as a class

action in that it is likely to avoid the burden that would be otherwise placed upon the judicial

system by the filing of numerous similar suits by people with visual disabilities throughout the

United States.

                 57. References to Plaintiff shall be deemed to include the named Plaintiff and

each member of the class, unless otherwise indicated.

                                FIRST CAUSE OF ACTION
   (Violation of 42 U.S.C. §§ 12181 et seq. – Title III of the Americans with Disabilities Act)

                 58. Plaintiff repeats, realleges and incorporates by reference the allegations

contained in paragraphs 1 through 57 of this Complaint as though set forth at length herein.




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               59. Title III of the American with Disabilities Act of 1990, 42 U.S.C. § 12182(a)

provides that “No individual shall be discriminated against on the basis of disability in the full

and equal enjoyment of the goods, services, facilities, privileges, advantages, or accommodations

of any place of public accommodation by any person who owns, leases (or leases to), or operates

a place of public accommodation.” Title III also prohibits an entity from “[u]tilizing standards or

criteria or methods of administration that have the effect of discriminating on the basis of

disability.” 42 U.S.C. § 12181(b)(2)(D)(I).

               60. Supergoop.com is a sales establishment and public accommodation within the

definition of 42 U.S.C. §§ 12181(7).

               61. Defendant is subject to Title III of the ADA because it owns and operates

Supergoop.com.

               62. Under Title III of the ADA, 42 U.S.C. § 12182(b)(1)(A)(I), it is unlawful

discrimination to deny individuals with disabilities or a class of individuals with disabilities the

opportunity to participate in or benefit from the goods, services, facilities, privileges, advantages,

or accommodations of an entity.

               63. Under Title III of the ADA, 42 U.S.C. § 12182(b)(1)(A)(II), it is unlawful

discrimination to deny individuals with disabilities or a class of individuals with disabilities an

opportunity to participate in or benefit from the goods, services, facilities, privileges, advantages,

or accommodation, which is equal to the opportunities afforded to other individuals.

               64. Specifically, under Title III of the ADA, 42 U.S.C. § 12182(b)(2)(A)(II),

unlawful discrimination includes, among other things, “a failure to make reasonable

modifications in policies, practices, or procedures, when such modifications are necessary to

afford such goods, services, facilities, privileges, advantages, or accommodations to individuals

with disabilities, unless the entity can demonstrate that making such modifications would
                                                 16
fundamentally alter the nature of such goods, services, facilities, privileges, advantages or

accommodations.”

               65. In addition, under Title III of the ADA, 42 U.S.C. § 12182(b)(2)(A)(III),

unlawful discrimination also includes, among other things, “a failure to take such steps as may

be necessary to ensure that no individual with disability is excluded, denied services, segregated

or otherwise treated differently than other individuals because of the absence of auxiliary aids

and services, unless the entity can demonstrate that taking such steps would fundamentally alter

the nature of the good, service, facility, privilege, advantage, or accommodation being offered or

would result in an undue burden.”

               66. There are readily available, well-established guidelines on the Internet for

making websites accessible to the blind and visually-impaired. These guidelines have been

followed by other business entities in making their websites accessible, including but not limited

to ensuring adequate prompting and accessible alt-text. Incorporating the basic components to

make their website accessible would neither fundamentally alter the nature of Defendant’s

business nor result in an undue burden to Defendant.

               67. The acts alleged herein constitute violations of Title III of the ADA, 42 U.S.C.

§ 12101 et seq., and the regulations promulgated thereunder. Patrons of Supergoop who are

blind have been denied full and equal access to Supergoop.com, have not been provided services

that are provided to other patrons who are not disabled, and/or have been provided services that

are inferior to the services provided to non-disabled patrons.

               68. Defendant has failed to take any prompt and equitable steps to remedy its

discriminatory conduct. These violations are ongoing.

               69. As such, Defendant discriminates, and will continue in the future to

discriminate against Plaintiff and members of the proposed class and subclass on the basis of
                                                 17
disability in the full and equal enjoyment of the goods, services, facilities, privileges, advantages,

accommodations and/or opportunities of Supergoop.com in violation of Title III of the

Americans with Disabilities Act, 42 U.S.C. §§ 12181 et seq. and/or its implementing regulations.

               70. Unless the Court enjoins Defendant from continuing to engage in these

unlawful practices, Plaintiff and members of the proposed class and subclass will continue to

suffer irreparable harm.

               71. The actions of Defendant were and are in violation of the ADA, and therefore

Plaintiff invokes her statutory right to injunctive relief to remedy the discrimination.

               72. Plaintiff is also entitled to reasonable attorneys’ fees and costs.

               73. Pursuant to 42 U.S.C. § 12188 and the remedies, procedures, and rights set

forth and incorporated therein, Plaintiff prays for judgment as set forth below.

                               SECOND CAUSE OF ACTION
               (Violation of New York State Human Rights Law, N.Y. Exec. Law
                            Article 15 (Executive Law § 292 et seq.))

               74. Plaintiff repeats, realleges and incorporates by reference the allegations

contained in paragraphs 1 through 72 of this Complaint as though set forth at length herein.

               75. N.Y. Exec. Law § 296(2)(a) provides that it is “an unlawful discriminatory

practice for any person, being the owner, lessee, proprietor, manager, superintendent, agent, or

employee of any place of public accommodation . . . because of the . . . disability of any person,

directly or indirectly, to refuse, withhold from or deny to such person any of the

accommodations, advantages, facilities or privileges thereof.”.

               76. Supergoop.com is a sales establishment and public accommodation within the

definition of N.Y. Exec. Law § 292(9).




                                                 18
               77. Defendant is subject to the New York Human Rights Law because it owns and

operates Supergoop.com. Defendant is a person within the meaning of N.Y. Exec. Law. §

292(1).

               78. Defendant is violating N.Y. Exec. Law § 296(2)(a) in refusing to update or

remove access barriers to Supergoop.com, causing Supergoop.com to be completely inaccessible

to the blind. This inaccessibility denies blind patrons the full and equal access to the facilities,

goods and services that Defendant makes available to the non-disabled public.

               79. Specifically, under N.Y. Exec. Law § unlawful discriminatory practice

includes, among other things, “a refusal to make reasonable modifications in policies, practices,

or procedures, when such modifications are necessary to afford facilities, privileges, advantages

or accommodations to individuals with disabilities, unless such person can demonstrate that

making such modifications would fundamentally alter the nature of such facilities, privileges,

advantages or accommodations.”

               80. In addition, under N.Y. Exec. Law § 296(2)(c)(II), unlawful discriminatory

practice also includes, “a refusal to take such steps as may be necessary to ensure that no

individual with a disability is excluded or denied services because of the absence of auxiliary

aids and services, unless such person can demonstrate that taking such steps would

fundamentally alter the nature of the facility, privilege, advantage or accommodation being

offered or would result in an undue burden.”

               81. There are readily available, well-established guidelines on the Internet for

making websites accessible to the blind and visually-impaired. These guidelines have been

followed by other business entities in making their website accessible, including but not limited

to: adding alt-text to graphics and ensuring that all functions can be performed by using a

keyboard. Incorporating the basic components to make their website accessible would neither
                                                  19
fundamentally alter the nature of Defendant’s business nor result in an undue burden to

Defendant.

               82. Defendant’s actions constitute willful intentional discrimination against the

class on the basis of a disability in violation of the New York State Human Rights Law, N.Y.

Exec. Law § 296(2) in that Defendant has:

               (a) constructed and maintained a website that is inaccessible to blind class

members with knowledge of the discrimination; and/or

               (b) constructed and maintained a website that is sufficiently intuitive and/or

obvious that is inaccessible to blind class members; and/or

               (c) failed to take actions to correct these access barriers in the face of substantial

harm and discrimination to blind class members.

               83. Defendant has failed to take any prompt and equitable steps to remedy their

discriminatory conduct. These violations are ongoing.

               84. As such, Defendant discriminates, and will continue in the future to

discriminate against Plaintiff and members of the proposed class and subclass on the basis of

disability in the full and equal enjoyment of the goods, services, facilities, privileges, advantages,

accommodations and/or opportunities of Supergoop.com under N.Y. Exec. Law § 296(2) et seq.

and/or its implementing regulations. Unless the Court enjoins Defendant from continuing to

engage in these unlawful practices, Plaintiff and members of the class will continue to suffer

irreparable harm.

               85. The actions of Defendant were and are in violation of the New York State

Human Rights Law and therefore Plaintiff invokes her right to injunctive relief to remedy the

discrimination.



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               86. Plaintiff is also entitled to compensatory damages, as well as civil penalties

and fines pursuant to N.Y. Exec. Law § 297(4)(c) et seq. for each and every offense.

               87. Plaintiff is also entitled to reasonable attorneys’ fees and costs.

               88. Pursuant to N.Y. Exec. Law § 297 and the remedies, procedures, and rights set

forth and incorporated therein, Plaintiff prays for judgment as set forth below.

                                 THIRD CAUSE OF ACTION
                 (Violation of New York State Civil Rights Law, NY CLS Civ R,
                                Article 4 (CLS Civ R § 40 et seq.))

               89. Plaintiff repeats, realleges and incorporates by reference the allegations

contained in paragraphs 1 through 88 of this Complaint as though set forth at length herein.

               90. Plaintiff served notice thereof upon the attorney general as required by N.Y.

Civil Rights Law § 41.

               91. N.Y. Civil Rights Law § 40 provides that “all persons within the jurisdiction

of this state shall be entitled to the full and equal accommodations, advantages, facilities, and

privileges of any places of public accommodations, resort or amusement, subject only to the

conditions and limitations established by law and applicable alike to all persons. No persons,

being the owner, lessee, proprietor, manager, superintendent, agent, or employee of any such

place shall directly or indirectly refuse, withhold from, or deny to any person any of the

accommodations, advantages, facilities and privileges thereof . . .”

               92. N.Y. Civil Rights Law § 40-c(2) provides that “no person because of . . .

disability, as such term is defined in section two hundred ninety-two of executive law, be

subjected to any discrimination in his or her civil rights, or to any harassment, as defined in

section 240.25 of the penal law, in the exercise thereof, by any other person or by any firm,

corporation or institution, or by the state or any agency or subdivision.”



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                93. Supergoop.com is a sales establishment and public accommodation within the

definition of N.Y. Civil Rights Law § 40-c(2).

                94. Defendant is subject to New York Civil Rights Law because it owns and

operates Supergoop.com. Defendant is a person within the meaning of N.Y. Civil Law § 40-

c(2).

                95. Defendant is violating N.Y. Civil Rights Law § 40-c(2) in refusing to update

or remove access barriers to Supergoop.com, causing Supergoop.com to be completely

inaccessible to the blind. This inaccessibility denies blind patrons full and equal access to the

facilities, goods and services that Defendant makes available to the non-disabled public.

                96. There are readily available, well-established guidelines on the Internet for

making websites accessible to the blind and visually-impaired. These guidelines have been

followed by other business entities in making their website accessible, including but not limited

to: adding alt-text to graphics and ensuring that all functions can be performed by using a

keyboard. Incorporating the basic components to make their website accessible would neither

fundamentally alter the nature of Defendant’s business nor result in an undue burden to

Defendant.

                97. In addition, N.Y. Civil Rights Law § 41 states that “any corporation which

shall violate any of the provisions of sections forty, forty-a, forty-b or forty two . . . shall for each

and every violation thereof be liable to a penalty of not less than one hundred dollars nor more

than five hundred dollars, to be recovered by the person aggrieved thereby . . .”

                98. Specifically, under N.Y. Civil Rights Law § 40-d, “any person who shall

violate any of the provisions of the foregoing section, or subdivision three of section 240.30 or

section 240.31 of the penal law, or who shall aid or incite the violation of any of said provisions

shall for each and every violation thereof be liable to a penalty of not less than one hundred
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dollars nor more than five hundred dollars, to be recovered by the person aggrieved thereby in

any court of competent jurisdiction in the county in which the Defendant shall reside . . .”

                99. Defendant has failed to take any prompt and equitable steps to remedy their

discriminatory conduct. These violations are ongoing.

                100. As such, Defendant discriminates, and will continue in the future to

discriminate against Plaintiff and members of the proposed class on the basis of disability are

being directly indirectly refused, withheld from, or denied the accommodations, advantages,

facilities and privileges thereof in § 40 et seq. and/or its implementing regulations.

                101. Plaintiff is entitled to compensatory damages of five hundred dollars per

instance, as well as civil penalties and fines pursuant to N.Y. Civil Rights Law § 40 et seq. for

each and every offense.

                                  FOURTH CAUSE OF ACTION
                          (Violation of New York City Human Rights Law,
                            N.Y.C. Administrative Code § 8-102, et seq.)

                102. Plaintiff repeats, realleges and incorporates by reference the allegations

contained in paragraphs 1 through 101 of this Complaint as though set forth at length herein.

                103. N.Y.C. Administrative Code § 8-107(4)(a) provides that “it shall be an

unlawful discriminatory practice for any person, being the owner, lessee, proprietor, manager,

superintendent, agent or employee of any place or provider of public accommodation, because of

. . . disability . . . directly or indirectly, to refuse, withhold from or deny to such person, any of

the accommodations, advantages, facilities or privileges thereof.”

                104. Supergoop.com is a sales establishment and public accommodation within

the definition of N.Y.C. Administrative Code § 8-102(9).




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                105. Defendant is subject to City Law because it owns and operates

Supergoop.com. Defendant is a person within the meaning of N.Y.C. Administrative Code § 8-

102(1).

                106. Defendant is violating N.Y.C. Administrative Code § 8-107(4)(a) in refusing

to update or remove access barriers to Supergoop.com, causing Supergoop.com to be completely

inaccessible to the blind. This inaccessibility denies blind patrons full and equal access to the

facilities, goods, and services that Defendant makes available to the non-disabled public.

Specifically, Defendant is required to “make reasonable accommodation to the needs of persons

with disabilities . . . any person prohibited by the provisions of [§ 8-107 et seq.] from

discriminating on the basis of disability shall make reasonable accommodation to enable a

person with a disability to . . . enjoy the right or rights in question provided that the disability is

known or should have been known by the covered entity.” N.Y.C. Administrative Code § 8-

107(15)(a).

                107. Defendant’s actions constitute willful intentional discrimination against the

class on the basis of a disability in violation of the N.Y.C. Administrative Code § 8-107(4)(a)

and § 8-107(15)(a) in that Defendant has:

                (a) constructed and maintained a website that is inaccessible to blind class

members with knowledge of the discrimination; and/or

                (b) constructed and maintained a website that is sufficiently intuitive and/or

obvious that is inaccessible to blind class members; and/or

                (c) failed to take actions to correct these access barriers in the face of substantial

harm and discrimination to blind class members.

                108. Defendant has failed to take any prompt and equitable steps to remedy their

discriminatory conduct. These violations are ongoing.
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               109. As such, Defendant discriminates, and will continue in the future to

discriminate against Plaintiff and members of the proposed class and subclass on the basis of

disability in the full and equal enjoyment of the goods, services, facilities, privileges, advantages,

accommodations and/or opportunities of Supergoop.com under N.Y.C. Administrative Code § 8-

107(4)(a) and/or its implementing regulations. Unless the Court enjoins Defendant from

continuing to engage in these unlawful practices, Plaintiff and members of the class will continue

to suffer irreparable harm.

               110. The actions of Defendant were and are in violation of City law and therefore

Plaintiff invokes his right to injunctive relief to remedy the discrimination.

               111. Plaintiff is also entitled to compensatory damages, as well as civil penalties

and fines under N.Y.C. Administrative Code § 8-120(8) and § 8-126(a) for each offense.

               112. Plaintiff is also entitled to reasonable attorneys’ fees and costs.

               113. Pursuant to N.Y.C. Administrative Code § 8-120(8) and § 8-126(a) and the

remedies, procedures, and rights set forth and incorporated therein, Plaintiff prays for judgment

as set forth below.

                                  FIFTH CAUSE OF ACTION
                                      (Declaratory Relief)

               114. Plaintiff repeats, realleges and incorporates by reference the allegations

contained in paragraphs 1 through 113 of this Complaint as though set forth at length herein.

               115. An actual controversy has arisen and now exists between the parties in that

Plaintiff contends, and is informed and believes that Defendant denies, that Supergoop.com

contains access barriers denying blind customers the full and equal access to the goods, services

and facilities of Supergoop.com, which Supergoop owns, operates and/or controls, fails to

comply with applicable laws including, but not limited to, Title III of the American with

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Disabilities Act, 42 U.S.C. §§ 12182, et seq., N.Y. Exec. Law § 296, et seq., and N.Y.C.

Administrative Code § 8-107, et seq. prohibiting discrimination against the blind.

               116. A judicial declaration is necessary and appropriate at this time in order that

each of the parties may know their respective rights and duties and act accordingly.

                                    PRAYER FOR RELIEF

               WHEREFORE, Plaintiff respectfully demands judgment in favor of Plaintiff and

the class and against the Defendant as follows:

   a)   A preliminary and permanent injunction to prohibit Defendant from violating the

        Americans with Disabilities Act, 42 U.S.C. §§ 12182, et seq., N.Y. Exec. Law § 296, et

        seq., and N.Y.C. Administrative Code § 8-107, et seq., and the laws of New York;

   b)   A preliminary and permanent injunction requiring Defendant to take all the steps

        necessary to make its website, Supergoop.com, into full compliance with the requirements

        set forth in the ADA, and its implementing regulations, so that Supergoop.com is readily

        accessible to and usable by blind individuals;

   c)   A declaration that Defendant owns, maintains and/or operates its website,

        Supergoop.com, in a manner which discriminates against the blind and which fails to

        provide access for persons with disabilities as required by Americans with Disabilities

        Act, 42 U.S.C. §§ 12182, et seq., N.Y. Exec. Law § 296, et seq., and N.Y.C.

        Administrative Code § 8-107, et seq., and the laws of New York;

   d)   An order certifying this case as a class action under Fed. R. Civ. P. 23(a) & (b)(2) and/or

        (b)(3), appointing Plaintiff as Class Representative, and her attorneys as Class Counsel;

   e)   An order directing Defendant to continually update and maintain its website to ensure that

        it remains fully accessible to and usable by the visually-impaired;



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   f)   Compensatory damages in an amount to be determined by proof, including all applicable

        statutory damages and fines, to Plaintiff and the proposed class for violations of their civil

        rights under New York State Human Rights Law and City Law;

   g)   Plaintiff’s reasonable attorneys’ fees, expenses, and costs of suit as provided by state and

        federal law;

   h)   For pre- and post-judgment interest to the extent permitted by law; and

   i)   For such other and further relief which this court deems just and proper.

Dated: Scarsdale, New York
       February 18j, 2021
                                                 SHAKED LAW GROUP, P.C.
                                                 Attorneys for Plaintiff

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